                IN THE DISTRICT COURT OF THE UNITED STATES
               FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                            ASHEVILLE DIVISION
                                 1:15 cr 85-13


UNITED STATES OF AMERICA                     )
                                             )
Vs.                                          )            ORDER
                                             )
BRANDI LYNN SMITH.                           )
______________________________________       )


        THIS MATTER is before the undersigned pursuant to a letter (#319) sent by

the Defendant requesting that substitute counsel be appointed to represent her in

place and stead of her present court appointed counsel, Ronald Justice. At the call

of this matter on for hearing the Defendant advised the Court she wished to withdraw

her request and further requested that Mr. Justice continue to represent her in this

matter. The undersigned conducted an examination of the Defendant and Defendant

assured the undersigned that Defendant was making this decision of her own free

will. As a result, the motion to withdraw the motion for substitution of counsel will

be allowed.

                                     ORDER

        IT IS, THEREFORE, ORDERED that the letter (#319) which has been

considered as a motion to substitute counsel is considered to be withdrawn and

DENIED.


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                              Signed: June 15, 2016




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